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EXHIBIT G

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COUNTY OF ALLEGHENY

 

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Medical Incident Regort

Who is involved? .iohn Oriando (69335), intake Correctionai Offlcers, intake Medicai Staff
when did the incident occur? Date: 3/26/16 Time: approx. 01230-0130hours

Where did it happen? At the above date and approximate time range, i, Laura Wliilams, was in the
medical intake area serving as the onsite medical management on duty. i recall .iohn Oriando speaking
with an ofilcer at the desk. john Oriando was speaking loud enough that l could hear him by the medical
intake area. When asked if ha was suicidai, he answered, “No.' When asked if he was detoxing from
substances he answered, "Yes." His response continued to include that he was detoxing from "benzos,
suhoxone, fentanyi, and meth.“ iohn Oriando identified, at this time, that he was uncomfortable/in pain
and that his symptoms were in direct reiation to his detoxing. At approximately OZOOhours a medical
emergency was called in the intake area. John Cirlando had been waiking by the blue chairs and had an
incident that resulted in his body lying on the fioor. At the time he also appeared to be shaking on the
fioor. The other inmates in the intake area were instructed to lock in. l was present for this incident and
stood near while Heather Fisher, RN, assessed him. lohn Orlando was compliant with her questions and
complained that he was in pain. Heather Fisher asked questions to determine if he was oriented and
alert iohn Oriando's primary complaints/issues inciuded: his head hurt, his back hurt, he was in pain.
and he needed something for the pain. lohn Orlando's physical condition was assessed and no visible
markings were found on his head or back from the incident that resulted in him lying on the fioor. John
Griando’s mental status and stability were assessed and no further needs were identified at that time.
At this time, iohn Oriando did not appear to require any immediate medical or mental health
intervention and he was able to walk to cell iP 3 where he was temporarily housed in his personal
ciothing. After he was secured in the celi, Heather Fisher contacted Rachei Aiexander to determine if any
medications should be administered lt was determined that no further medical interventions were
needed at this time.

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After the lncident, both intake RN’s discussed his problematic behavior from the night before and
reported that he had been placed in a restraint chalr. Both Tricia Corrado and i-ieather Fisher indicated

that he was far more compliant with staff and did not appear to be a perceived threat to self or others
at this time.

Witnesses: Laura Williams, LPC, NCC

Reporting Stafi: Date: 3/31/16 Time: B:Mpm

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